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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


 CHRISTOPHER CHANDLER,

    Plaintiff,                                      No.1:18-cv-02136-APM

                v                                   Hon. Amit P. Mehta

 DONALD BERLIN, et al.,

     Defendants.


       DEFENDANTS’ REPLY IN SUPPORT OF SUMMARY JUDGEMENT

        This case began with Plaintiff threatening Mr. Berlin and his wife with financial ruin,

and notwithstanding the Plaintiff threatening the Court with reversal, it should end now. In

his attempt to evade his own admissions and the Court’s April 3, 2019 Order, Plaintiff

abandons the theory of his Complaint, urges an incorrect interpretation of District law, and

makes statements that are neither explained nor true, such as that he is suing for a “different

harm” than that which he knew about at least as early as 2010.

        This Court has already ruled Plaintiff has no claim against Defendants for any alleged

defamation other than the publication of the Limited Report to Eringer sixteen years ago.

Thus the question before the Court is whether Plaintiff was on inquiry notice of the allegedly

defamatory statements of which he now complains prior to September, 2017 (one year before

filing suit).

        As Judge Gessell stated in Fitzgerald, “[i]mplicit in the statute of limitations is the notion

that any case or controversy must eventually be allowed to die a natural death through the

passage of time.” 384 F. Supp. 688, 698 (D.D.C. 1974). Plaintiff ’s own admissions and acts
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require the conclusion that his claims against Defendants died years ago, when he knew about

the allegedly defamatory allegations and that Eringer was their source but affirmatively

declined to initiate litigation.

        That decision may have been perfectly reasonable – indeed people frequently decide

not to sue although they believe they have been wronged – but it has consequences, one of

which is he cannot now bring an action based on the same alleged wrongs against Mr. Berlin

and his company, whose identities would have been revealed had Plaintiff timely filed suit

against Eringer. Plaintiff ’s argument that he only found out about Defendants when he finally

took action in 2018 completely misses the point of Fitzgerald. Had he acted when the claim

indisputably arose, he would have discovered Eringer’s employment of Mr. Berlin at least as

quickly as he did in 2018. Therefore, the within case must be dismissed.

  I.    Defendants Have Shown That They and Eringer Were “Closely Connected.”
        Nothing More Is Required To Dismiss Plaintiff ’s Remaining Claim.

        The parties agree that the disposition of this motion is governed by Diamond v. Davis,

680 A.2d 364 (D.C. 1996), and Fitzgerald v. Seamans, 553 F.2d 220 (D.C. Cir. 1977). Plaintiff,

however, misreads both cases.

        Citing Fitzgerald, the court in Diamond established the following principle:

        [P]laintiff ’s knowledge of wrongdoing on the part of one defendant [does] not
        cause accrual of his action against another, unknown defendant responsible for
        the same harm unless the two defendants were closely connected, such as in a
        superior-subordinate relationship.

680 A.2d at 380 (emphasis added).

        Plaintiff contends that Mr. Berlin “is not a subordinate of Eringer” and therefore may

not receive the benefit of the rule announced in Diamond. (Dkt. 34 at 6-7). This is incorrect as



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a matter of law and undisputed fact. The Diamond rule is not limited to superiors and

subordinates. It applies to all parties who are “closely connected.” The Court’s use of the

phrase “such as” shows that a superior-subordinate relationship is but one example of a

close connection, not an inflexible requirement.

       For that reason, courts routinely give parties the benefit of the Diamond rule even when

no superior-subordinate relationship exists. E.g., Nader v. Democratic National Comm., 567 F.3d

692, 702 (D.C. Cir. 2009) (Plaintiff ’s knowledge of claims against the Democratic National

Committee started accrual of claims against the Kerry-Edwards Campaign); Kubicki v.

Medtronic, Inc., 293 F. Supp. 3d 129, 161-62 (D.D.C. 2018) (plaintiff ’s knowledge of claim

against manufacturer of one component of a medical device started accrual of claims against

manufacturer of another component of that device); Gardel v. SK&A Structural Engineers

PLLC, 286 F. Supp. 3d 120, 125-27 (D.D.C. 2017) (Plaintiff ’s knowledge of claim against

building owner started accrual of causes of action against engineering firm and construction

company that did work at the building); Sandza v. Barclays Bank PLC, 151 F. Supp. 3d 94, 115-

16 (D.D.C. 2015) (Plaintiff ’s knowledge of claim against law firm started accrual of cause of

action against the firm’s bank). Thus, the proper inquiry under District of Columbia law is not

whether Mr. Berlin was Eringer’s subordinate but simply whether they were closely connected.

       The undisputed record leaves no doubt about the close connection between Eringer

and the Defendants. Mr. Berlin was not some independent researcher whose work Eringer

somehow stumbled upon. As Plaintiff himself admits, Eringer hired the Defendants to

prepare the Limited Report. (Response to Defendants’ Statement of Undisputed Facts No. 1,

(Dkt. 34 at 15)). Moreover, as Defendants have pointed out (and Plaintiff does not dispute)



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the basis of Plaintiff ’s complaint in this case is the allegation that Eringer and Mr. Berlin

worked together to defraud Prince Albert by means of a “Pitch.” See, e.g., Redacted Complaint,

Dkt. 20, ¶ 3: “Berlin attempted to defraud Prince Albert II of Monaco (through Robert

Eringer).”

       Far from being a “person of influence in a different center of power,” like the White

House aide in Fitzgerald, Mr. Berlin performed services directly for Eringer, like the engineering

firm and construction company in Gardel and the bank in Sandza. Contrary to plaintiff ’s

characterization, Mr. Berlin, who supplied information to Eringer, is exactly like the Air Force

officials in Fitzgerald, who supplied information to the other Air Force defendants in that case.1

       Even assuming, arguendo, that Plaintiff ’s crabbed interpretation of Fitzgerald is correct,

the result is the same. Plaintiff has conceded that Eringer employed Defendants to prepare

the Limited Report and has alleged that he and Mr. Berlin acted “in concert.” (Responses to

Statement of Undisputed Facts Nos. 1 and 2, (Dkt. 34 at 15-16); Redacted Complaint, Dkt.

20, ¶¶ 3, 38)). Nothing in Fitzgerald limits its application to individuals working for the same

employer as opposed to individuals employed as contractors by a known defendant.

Defendants, therefore, have established that they are entitled to the benefit of the “closely

connected” rule in Diamond and Fitzgerald.




1 Plaintiff’s reliance on Richards v. Mileski, 662 F.2d 65 (D.C. Cir. 1981), is misplaced. In that
case, the statute of limitations was tolled because the plaintiff had no information at all about
who had defamed him until he filed a Freedom of Information Act request. The case is
irrelevant to the question presented here under Diamond and Fitzgerald: whether Plaintiff’s
awareness of his claims against one potential defendant was sufficient to start the running of
the statute of limitations against another, closely related defendant.

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II.    BECAUSE HE ALLOWED THE STATUTE OF LIMITATIONS TO
       RUN AGAINST ERINGER, PLAINTIFF FAILED TO UNDERTAKE
       A REASONABLE INVESTIGATION THAT WOULD HAVE
       REVEALED THE LIMITED REPORT.

       Plaintiff does not dispute that the statute of limitations has expired for any claims

arising out of Eringer’s prior publications. Nor does he dispute that he would have discovered

the Limited Report if he timely sued Eringer. In particular, he has no answer to our showing

that discovery in any such suit would have revealed the Limited Report. (Dkt. 32-2 at 11-14).

Instead, he asserts that he had no basis for investigating Defendants before May 2018. (Dkt.

34 at 8). That argument ignores consistent case law holding that, in appropriate cases, a

reasonable investigation of an unknown defendant includes discovery in a lawsuit against a

known defendant.

       Fitzgerald establishes that a plaintiff who fails to file a timely action against one

defendant is deemed to have inquiry notice of what would have been revealed in such an

action had he filed on time. “The matter would stand differently if appellant had proceeded

with diligence within the 3-year period by suing those conspirators known to him at the time,

and later sought to add other participants whose identity he learned in the course of that suit.”

553 F.2d at 229. As we have shown, discovery in an action against one defendant often will

reveal information identifying additional individuals who may be liable to the plaintiff, and the

plaintiff ’s failure to act on that information in a timely manner will cause the statute of

limitations to run against the newly-revealed defendant. (Dkt. 32-2 at 10-11 (citing Kubicki and

Gardel)). This is nothing more than an application of the general rule that “[t]he critical

question in assessing the existence vel non of inquiry notice is whether the plaintiff exercised

reasonable diligence under the circumstances in acting or failing to act on whatever


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information was available to him.” Ray v. Queen, 747 A.2d 1137, 1141-42 (D.C. 2000), citing

Diamond, 680 A.2d at 376-81.

       Plaintiff himself recognized that a suit against Eringer was the best way to investigate

the source of Eringer’s claims. (Dkt. 32-4 (Plaintiff wonders whether to sue Eringer “to force

him to prove the comment or retract it”)).2 Instead of diligently acting, Plaintiff did the

opposite, electing to “carry on with our lives and leave the curiosity to others.” (Dkt. 32-6).

There is nothing wrong with declining to prosecute a claim against a known defendant. But

that decision has consequences not only for the known defendant but also for any other person

whose participation in the alleged wrongdoing would be revealed through discovery. When a

putative plaintiff knows of an injury, its cause in fact and some evidence of wrongdoing, he

must file suit within the statute of limitations period. Diamond, 680 A.2d at 379. That lawsuit,

including the discovery process, constitutes a reasonable investigation of the matter, including

an investigation of who may have contributed to the harm. Failure to conduct that

investigation through the legal process means that all persons “closely connected” to the

known defendant are entitled to the benefit of the statute of limitations. Id. at 380; Fitzgerald,

553 F.2d at 229.

       Defendants are not contending that filing a lawsuit is the only way to fulfill the “duty

to investigate matters . . . with reasonable diligence” recognized in Diamond. 680 A.2d at 381.

But if a cause of action has accrued under the Diamond standard, the prospective plaintiff


2 Plaintiff speculates about whether Eringer would have responded to inquiries about his
publications, (Dkt. 34 at 9), but does not dispute that discovery in a lawsuit would have
revealed the Limited Report and Defendants’ role in its preparation. In any event, any
uncertainty about what would have happened in a lawsuit against Eringer is the result of
Plaintiff’s own failure to diligently pursue his claims against Eringer.

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must file a timely action or suffer the consequences. Those consequences include the loss of

all time-barred causes of action against known defendants as well as any others who are closely

connected with those defendants and who would have been revealed in discovery.

       Plaintiff ’s attorneys suggest that he would have acted differently if only he knew that

Eringer’s charges were backed up by an investigation by someone else. (Dkt. 34 at 10). The

record unequivocally refutes that suggestion. The evidence shows that Eringer described

several people who contributed to his efforts to investigate Plaintiff. Eringer’s book refers to

“we” when discussing intelligence gathering activities about Plaintiff, (Dkt. 22-12 at 16-19),

and notes that his deputy attended at least one meeting with the Prince when Plaintiff was

discussed. (Id. at 16). The book also says that Eringer had a spy within Plaintiff ’s company, (id.

at 53), that he had recruited someone to observe comings and goings at the company by posing

as an artist painting a landscape, (id. at 18), and that he sent a deputy to Switzerland to meet

with Ivo Hoppler, an investigating magistrate who supplied information to the deputy. (Id. at

18-19). Eringer’s lawsuit against Prince Albert also stated that he had documents to support

his claims about Plaintiff. (Dkt. 21-7, ¶13).

       Eringer, therefore, did not present his findings as the solitary musings of a self-

published author but as the result of a collaborative effort involving several other people. This

was more than sufficient to put Plaintiff on notice that Eringer claimed to have both

documentary and eyewitness evidence that would be revealed if and when Plaintiff decided

to make Eringer “prove . . . or retract” his charges by filing a lawsuit.3


3 To be sure, Eringer’s publications do not refer to Defendants’ work. But Eringer’s references
to some of the sources for his work, including references to other people who were
investigating Plaintiff, refute the claim of Plaintiff’s attorneys that Plaintiff might have gone

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       Allowing Plaintiff to evade the consequences of his decision to “carry on with our

lives and leave the curiosity to others” would be an anomalous result. As discussed above, in

cases such as Kubicki and Gardel, plaintiffs who diligently filed suit against known defendants

but failed to take timely action against others whose involvement was, or could have been,

revealed in discovery are barred from recovery against those new defendants. In this case,

Plaintiff took no action, diligent or otherwise, against Eringer. His failure to take advantage

of an “opportunity to clear his name,” (Dkt. 34 at 11), should not put him in a better position

than other plaintiffs who at least took some timely action to vindicate their rights.

       Because Plaintiff ’s claims against Eringer arose no later than 2015, a reasonable

investigation of Eringer would have included a lawsuit (i.e., an effort to have Eringer “prove

. . . or retract” his charges), and because discovery in such a lawsuit would have revealed

Defendants’ preparation of the Limited Report, Plaintiff had inquiry notice of the Report

and that Defendants authored the Report. The statute of limitations for claims arising out of

the publication of the Limited Report, therefore, expired well before Plaintiff filed this action.

III.   PLAINTIFF’S ASSERTIONS THAT HE IS LITIGATING A
       “DIFFERENT HARM” CAUSED BY A “DIFFERENT PERSON”
       IN A “DIFFERENT PUBLICATION” ARE NOT MATERIAL
       FACTS PRECLUDING DISMISSAL.

       Plaintiff ’s final argument, that the Limited Report is a “different publication” by a

“different person” that caused a “different harm” is meritless and may be dealt with quickly.

To begin with, that Mr. Berlin is a “different person” than Eringer is not a material fact – all

of the individuals given the benefit of the statute of limitations under Fitzgerald, Diamond, and



after Eringer if only Plaintiff knew that Eringer’s claims were backed up by something more
than Eringer’s say-so.

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the other cases cited above were different individuals or entities from the person or entity

known to the plaintiff. For the reasons discussed above, given his relationship with Eringer

and Plaintiff ’s knowledge of his claims in 2015, Mr. Berlin (and his companies) are entitled to

the protections of Diamond and Fitzgerald.

       Plaintiff then argues that Mr. Berlin’s disclosure to Eringer constitutes a “different

harm” because the Limited Report “has all the appearance of a professional investigative

report” and the “gravitas” of a professional investigator. (Dkt. 34 at 10). This is the same

document Plaintiff described as “disorganized, written at a high school level, and riddled with

spelling and grammatical errors that would have been caught by an educated person with a

rudimentary understanding of the spellcheck and grammar check tools available on Word

processing platforms.” (Dkt. 1, ¶ 32). More to the point, Plaintiff attributes to the Limited

Report the very same allegedly defamatory statements that Eringer published in 2010, 2015,

and 2018. (Redacted Complaint, Dkt. 20, ¶¶ 4, 13; Responses to Defendants’ Statement of

Undisputed Facts Nos. 1-6 (Dkt. 34 at 15-17)). Furthermore, there is no evidence that a lack

of “gravitas” influenced Plaintiff ’s decision not to initiate litigation against Eringer prior to

2018, even though he was on notice that Eringer had relied on several named and unnamed

sources.

       Lastly, Plaintiff makes a halfhearted effort at arguing Eringer’s 2018 publication of the

allegedly defamatory statements in the Limited Report constitutes a separate harm from

Defendants’ publication of the Limited Report to Eringer. (Dkt. 34 at 11-12). However, claims

against Defendants arising out of Eringer’s 2018 publication have already been dismissed.

(Order, Dkt. 24, at 8-9). If Plaintiff is attempting to argue that Eringer’s disclosures in 2018



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constitute a new publication, that is of no help to him vis-à-vis Defendants. Once his claim

against Eringer indisputably arose in 2015, Plaintiff’s opportunity to rely on the discovery rule

that would have led him to Defendants came and went within one year.

       There is no authority for the assertion that actions by Eringer in 2018 gave rise to a

new claim based on “new harm” from the 2003 publication. In fact, the authority is to the

contrary. Colbert v. Georgetown Univ., 641 A.2d 469, 473-74 (D.C. 1994) (en banc) (plaintiff was at

least on inquiry notice of her claim; “[w]e know of no precedent for the position that a plaintiff

whose action has accrued, and who has already suffered grievous injury, may defer suit until

further complications develop”); Nelson v. American Nat. Red Cross, 26 F.3d 193, 197 (D.C. Cir.

1994) (quoting Colbert’s “no precedent” language); Estate of Grant v. Armour Pharm. Co., 2007

U.S. DIST LEXIS 4574 (D.D.C. 1/23/07) at *12-13 (plaintiff’s decedent was on inquiry notice

of her claim; “the discovery rule ‘does not permit a plaintiff who has information regarding a

defendant’s negligence and who knows that she has been significantly injured, to defer

institution of suit and wait and see whether additional injuries come to light.’ ”) (quoting

Colbert, 641 A.2d at 473); Hendel v. World Plan Exec. Council, 705 A.2d 656, 661 (D.C. 1997)

(plaintiff was on inquiry notice of her claim; “[t]he discovery rule does not, however, give the

plaintiff carte blanche to defer legal action indefinitely if she knows or should know that she may

have suffered injury and that the defendant may have caused her harm.”)

       Simply put, Plaintiff had actual notice of his claims against Eringer no later than 2015,

and consequently was on inquiry notice of any claims against Defendants. Diamond, 680 A.2d

at 372. He had one year to sue Defendants but chose to do nothing. Therefore, the case

should be dismissed.



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                                       CONCLUSION

       Plaintiff ’s attempt to limit Fitzgerald and Diamond to persons in a superior-subordinate

position does not withstand even the slightest scrutiny, and even were that not the case, it is

undisputed that Eringer hired Defendants to prepare the Limited Report. Thus there is no

legal or factual basis to exclude Defendants from the rule of those cases. Plaintiff ’s remaining

arguments as to what influenced him in 2015 are unsupported by any evidence and therefore

cannot create a genuine issue of material fact. Counsel’s strained attempt to characterize as

“different harms” the very same alleged reputational damage supposedly caused by the

Limited Report in 2003 and its publication by Eringer in 2018 is pure sophistry. Accordingly,

this case should be dismissed.

September 12, 2019                                   Respectfully submitted,



                                                     John P. Dean
                                                     D.C. Bar No. 362904

                                                     Steven M. Oster
                                                     D.C. Bar No. 376030

                                                     OSTER McBRIDE, PLLC
                                                     1320 19th Street, N.W., Suite 601
                                                     Washington, DC 20036
                                                     (202) 596-5291 (p)
                                                     (202) 747-5862 (f)
                                                     soster@ostermcbride.com

                                                     Counsel to Defendants




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                            CERTIFICATE OF SERVICE

      I certify that I filed the attached Reply in Support of Summary Judgment using the

Court’s CM/ECF system and thereby served counsel of record for the Plaintiff.

September 12, 2019                               /s/ Steven M. Oster




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